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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                   SOUTHERN DIVISION     .
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     UNITED STATES OF AMERICA                       )
                                                    )
                   v.                               )     INDICTMENT
                                                    )
     LIAM MONTGOMERY COLLINS,                       )
     PAULJAMESKRYSCUK                               )


           The Grand Jury charges:

                                         COUNT ONE

           Beginning in or about May 2019, and continuing to the present, in the Eastern

     District of North Carolina and elsewhere, the defendants, LIAM MONTGOMERY

     COLLINS and PAUL JAMES KRYSCUK, did conspire, confederate, and agree with

     others, both known and unknown to the Grand Jury, to commit offenses against the

     United States in violation of Title 18, United States Code, Section 922(a)(l)(A), by

     willfully and. knowingly without licensure, engage in the business of manufacturing

     firearms and in the course of such business to ship, transport, and receive any firearm

     in interstate commerce, and to commit offenses against the United States in violation

     of Title 18, United States Code, Section 922(a)(3), by transporting into and receiving

     into North Carolina a firearm obtained outside the State of North Carolina without

     licensure.



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                       PURPOSE OF THE CONSPIRACY

      It was    the   purpose   of the    conspiracy for the       defendants,   LIAM

MONTGOMERY COLLINS and PAUL JAMES KRYSCUK, to unlawfully enrich

themselves and others, by among other things, manufacturing and selling hard to

obtain firearms and firearm parts in a manner that the "government would not know"

the purchasers had them.

                                   OVERT ACTS

      In furtherance of the conspiracy and to achieve the object thereof, at least one
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of the following overt acts, among others, were committed by the defendants LIAM

MONTGOMERY COLLINS and PAUL JAMES KRYSCUK, in the Eastern District

of North Carolina, between May 2019 and the present:·

      1. On April 24, 2020, defendant LIAM MONTGOMERY COLLINS accepted

$1,500 transferred to 'his personal account in payment for a 9 mm pistol and

suppressor which were to be manufactured by defendant PAUL JAMES KRYSCUK.

      2.   Shortly thereafter, defendant PAUL JAMES KRYSCUK received the

$1,500 in his VENMO accQunt, transferred the monies to his personal bank account,

and made purchase from vendors known to sell solvent traps.

      3. Using the alias "Shaun Corcoran," defendant PAUL JAMES KRYSCUK

then mailed the resulting pistol and suppressor from Idaho to Jacksonville, North

Carolina, on or about June 17, 2020.

      All in violation of Title 18, United States Code, Section 371.


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                                                      COUNT TWO
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                    On or about June 17, 2020, in the Eastern District of North Carolina and

            elsewhere, the defendants, LIAM MONTGOMERY COLLINS and PAUL JAMES

            KRYSCUK, aiding and abetting one another, not being a licensed importer,

            manufacturer, dealer, and collector of firearms, within the meaning of Chapter 44,

            Title 18, United .States Code, willfully did transport into the State of                      North

           ·Carolina, where LIAM MONTGOMERY COLLINS then resided, a 9mm pistol with

            suppressor, said firearm having been manufactured and obtained by the defendants

            outside the State of North Carolina, in violation of Title 18, United States Code,

           · Sections 922(a)(3) and 924(a)(l)(D) and 2.

                                                        COUNT THREE

                   On.or about September 11, 2020, in the Eastern District of North Carolina and

            elsewhere, the defendants, LIAM MONTGOMERY COLLINS and PAUL JAMES

            KRYSCUK, aiding and abetting one another, knowingly transported and delivered

            from Idaho to Pennsylvania, in interstate commerce, a firearm, specifically, a weapon

            inade from a rifle modified to have an overall length of less than 26 inches or a barrel or barrels of

            less than 16 inches in length, not registered as required by_ Chapter 53 of Title 26, in

            violation of Title 26, United States Code, Sections 5841, 58616), and 5871, and 18

            U.S.C. § 2.




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                                   FORFEITURE NOTICE

       Notice is hereby-given that all right, title and interest in the property described

herein is subject to forfeiture.

       Upon conviction of any violation of the Gun Control Act, the National Firearms

Act, or any other offense charged herein that involved or was perpetrated in whole or

in part by the use of firearms or ammunition, the defendant shall forfeit to the United

States, pursuant to 18 U.S.C. § 924(d) and/or 26 U.S.C. § 5872, as made applicable by

28 U.S.C. § 2461(c), any and all firearms and ammunition that were involved in or

used in a k_nowing or willful commission of the offense, or, pursuant to 18 U.S.C.

§ 3665, that were found in. the ·possess~on or under the immediate control of the

defendant at the time of arrest.

       The forfeitable property includes, but is not limited to, the following:

       Personal Property:

       a) One 9mm pistol and suppressor, not serialized, seized on June 18, 2020

          from individual JH and any and all associated ammunition.

     If any of the above-described forfeitable property, as a result of any act or

omission of a defendant: cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a third party; has been placed beyond

the jurisdiction of the court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty; it is the

intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of said defendant up to the value of the
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         . forfeitable property described above.




                                                       A TRUE BILL


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                                                       DATE


         ROBERT J. HIGDON, JR.
         United States Attorney


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         BY: BARBARA D. KOCHER
         Assistant United States Attorney




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